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STEPHEN KNUTH, i'ili'ili)n&."€ GESTRZCT 'U`F FLQ;`};T;;!\.

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Plaintiff,
v. CASE NO. 3 °_\ LQ~ CV~_[ \Q-'S- M
CITIBANK, N.A.,
Defendant.

 

NOTICE OF REMOVAL
PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1331, l441(b), and 1446,
defendant Citibank, N.A. (“Citibank”) hereby removes the action entitled Stephen Knuth v.

Citibank, N.A., which is pending in the Circuit Court for the Fourth Judicial Circuit of Florida, in

 

and for Duval County, Case No. l6-2016-CA-003082-XXXX~MA (the “Action”), to the United
States District Court for the Middle District of Florida on the following grounds:

l. Citibank has no record of being served with the Summons and Complaint in the
Action, and there is no return of service indicated on the docket. Copies of the docket,
Summons, and Complaint are attached hereto as Exlu`bitA.

2. Citibank has timely filed this Notice of Removal. See 28 U.S.C. § l446(b).

3. The Action is a civil action of which this Court has original jurisdiction under 28
U.S.C. § 1331 and is one which may be removed to this Couxt by Citibank pursuant to the
provisions of 28 U.S.C. § l44l(a) because Plaintiff, Stephen Knuth, alleges violations of the
federal Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (see, e.g., Complaint at p.

4) a claim which is created by and arises under federal law. To the extent any other claims in the

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Action may arise under state law, supplemental jurisdiction over such claims exists pursuant to
28 U.S.C. §§ 1367 and 1441(c).

4. This Court is the proper district court and division for removal because the Action
is pending in Duval County, Florida.

5. Citibank is simultaneously filing a copy of this Notice of Removal of Action with
the state court in the Action. Citibank will serve Plaintiff with copies of this Notice of Removal
and the notice filed in the Action.

6. By virtue of this Notice of Removal of Action and the notice filed in the Action,
Citibank does not waive its rights to assert any personal jurisdictional defenses or other motions
including Rule 12 motions, motions to compel arbitration, or both, as otherwise permitted by the
Federal Rules of Civil Procedure.

7. Citibank certifies, to the best of its knowledge, that: true and legible copy of all
process, pleadings, orders, and other papers or exhibits now on file in the state court have been
attached to this Notice of Removal of Action; and there are no motions pending in the state court.

Dated: June 10, 2016 Respectfully submitted,
AKERMAN LLP

/s/John L. Dicks 11

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Attorneysfor Citibank, N.A.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was fumished by
email to Plaintit`i`s counsel, Todd M. Davis, Esq. at 'I`D@DavisPLLC.com on this lOth day of

June, 2016.

/s/ John L. Dicks 11
Attorney

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